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  The relief described hereinbelow is SO ORDERED.

  Signed June 05, 2020.


                                                          __________________________________
                                                                       Ronald B. King
                                                            Chief United States Bankruptcy Judge




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                                               United States Bankruptcy Court
                                                 Western District of Texas
In re:                                                                                                     Case No. 20-50805-rbk
KrisJenn Ranch, LLC, KrisJenn Ranch, LLC                                                                   Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0542-5                  User: paezd                        Page 1 of 1                          Date Rcvd: Jun 08, 2020
                                      Form ID: pdfintp                   Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 10, 2020.
               +Shane P. Tobin,   U.S. Trustee’s Office,   903 San Jacinto Ave., Room 230,
                 Austin, TX 78701-2450

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 10, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 8, 2020 at the address(es) listed below:
              Carlos M Arce    on behalf of Creditor    Uvalde County Tax Office carce@pbfcm.com,
               mvaldez@pbfcm.com;mvaldez@ecf.courtdrive.com
              Charles John Muller, IV    on behalf of Plaintiff    Krisjenn Ranch, LLC, Krisjenn Ranch, LLC,
               Series Uvalde Ranch, Krisjenn Ranch, LLC, Series Pipeline Row john@muller-smeberg.com,
               mary.ables-miller@chamberlainlaw.com
              John P. Dillman    on behalf of Creditor    Shelby County houston_bankruptcy@publicans.com
              John P. Dillman    on behalf of Creditor    Angelina County houston_bankruptcy@publicans.com
              Laura L. Worsham    on behalf of Creditor    McLeod Oil, LLC lworsham@jonesallen.com,
               kmcdonald@jonesallen.com
              Michael J. Black    on behalf of Creditor    Longbranch Energy, LP mblack@burnsandblack.com,
               mcollins@burnsandblack.com
              Michael J. Black    on behalf of Creditor    DMA Properties, Inc. mblack@burnsandblack.com,
               mcollins@burnsandblack.com
              Ronald J. Smeberg    on behalf of Debtor    KrisJenn Ranch, LLC, KrisJenn Ranch, LLC, Series Uvalde
               Ranch, KrisJenn Ranch, LLC, Series Pipeline Row ron@smeberg.com, ronaldsmeberg@yahoo.com
              Ronald J. Smeberg    on behalf of Plaintiff    Krisjenn Ranch, LLC, Krisjenn Ranch, LLC, Series
               Uvalde Ranch, Krisjenn Ranch, LLC, Series Pipeline Row ron@smeberg.com, ronaldsmeberg@yahoo.com
              Tab Beall     on behalf of Creditor    Nacogdoches County, et al. tbeall@pbfcm.com,
               tylbkc@pbfcm.com;tbeall@ecf.inforuptcy.com
              Tara LeDay     on behalf of Creditor    Guadalupe County
               tleday@ecf.courtdrive.com;kmorriss@mvbalaw.com;vcovington@mvbalaw.com;bankruptcy@mvbalaw.com;aloc
               klin@mvbalaw.com
              United States Trustee - SA12    USTPRegion07.SN.ECF@usdoj.gov
                                                                                              TOTAL: 12
